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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

BRIAN TIMOTHY DANE,                               §
                                                  §
        Plaintiff,                                §
v.                                                §   CIVIL ACTION NO. 4:20-CV-323-CAN
                                                  §
COMMISSIONER, SSA                                 §
                                                  §
        Defendant.                                §

                          MEMORANDUM OPINION AND ORDER

       The Court, having reviewed Plaintiff Brian Timothy Dane’s Motion for Fees under the

Equal Access to Justice Act [Dkt. 22], and the Commissioner’s Response [Dkt. 23], wherein the

Commissioner does not object to the requested fee, finds that Plaintiff’s Motion is well taken and

should be granted. Accordingly,

       It is therefore ORDERED that Plaintiff’s Motion [Dkt. 22] is GRANTED, and the

Commissioner is directed to pay seven thousand, nine hundred and one dollars, and sixty-eight

cents, ($7,901.68), in attorney fees. Payment shall be made payable to Plaintiff and mailed to

Plaintiff’s counsel of record.

       IT IS SO ORDERED.
       SIGNED this 8th day of November, 2021.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE




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